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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:05-cr-00163
                                    )
v.                                  )                  Honorable Robert Holmes Bell
                                    )
BRANDON CHARLES EDMONDS,            )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on December 8, 2005, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Brandon Charles Edmonds entered a plea of guilty to both counts of a two-count

Felony Information, charging the Defendant in Count One with conspiracy to distribute and possess

with intent to distribute cocaine and marijuana, in violation of Title 21, United States Code, Sections

846 and 841(a)(1), and charging the Defendant in Count Two with being a convicted felon in

possession of firearms, in violation or 21 U.S.C. § 922(g)(1), in exchange for the undertakings made

by the government in the written plea agreement. On the basis of the record made at the hearing, I

find that defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea agree-
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ment; that the defendant understands the nature of the charge and penalties provided by law; and that

the plea has a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to the two-count Felony

Information be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: December 9, 2005                                  /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                       NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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